           Case 2:15-cr-00014-APG-VCF Document 330 Filed 06/27/17 Page 1 of 5



1    LANCE J. HENDRON, ESQ.
     Nevada Bar # 011151
2
     625 S. Eighth Street
3    Las Vegas, Nevada 89101
     702.758.5858
4    702.387.0034 (fax)
     lance@ghlawnv.com
5
     Attorney for the Defendant
6    OMAR QAZI

7                                UNITED STATES DISTRICT COURT
8                                       DISTRICT OF NEVADA
9
     UNITED STATES OF AMERICA                           CASE NO: 2:15-cr-00014-APG-VCF
10
                    Plaintiff,                          COUNSEL’S MOTION TO WITHDRAW
11                                                      AS STANDBY ATTORNEY OF RECORD
     vs.                                                AND APPOINT ALTERNATE CJA
12
                                                        COUNSEL
13   OMAR QAZI,

14                  Defendant
15

16          LANCE HENDRON, ESQ., as counsel for Defendant Omar Qazi, hereby moves this court

17   for leave to withdraw as counsel to Mr. Qazi and allow Mr. Qazi to be appointed alternate CJA
18
     counsel or, in the alternative, to proceed on appeal without assistance of counsel.
19
            This Motion is based upon the pleadings and papers on file herein, the attached
20
     Memorandum of Points and Authorities, and any colloquy entertained at a date and time set for
21

22   hearing on this matter.

23          DATED this __27th___ day of June, 2017.
24
                                   By: __/s/ Lance Hendron__________
25                                        Lance J. Hendron, Esq. (#011151)
                                          625 S. Eighth St.
26                                        Las Vegas, NV 89101
                                          Attorney for Defendant
27

28
           Case 2:15-cr-00014-APG-VCF Document 330 Filed 06/27/17 Page 2 of 5



1

2                        MEMORANDUM OF POINTS AND AUTHORITIES
3           1.      Good Cause Exists to Permit Withdrawal
4           According to the Nevada Rules of Professional Conduct (“NRPC”), Rule 1.16, an attorney
5    may withdraw from representation according to the following circumstances:
6                (1) Withdrawal can be accomplished without material adverse effect on the
                 interests of the client;
7
                 …
8                (7) Other good cause for withdrawal exists.
                 NRCP Rule 1.16(b)(1),(7).
9

10          NRCP 1.16(c) requires that “A lawyer must comply with applicable law requiring notice
11   to or permission of a tribunal when terminating representation.” This Rule is reflected in the
12   Nevada District Court’s Local Rule LR IA 11-6(b): “No attorney may withdraw after appearing in
13   a case except by leave of the court after notice has been served on the affected client and opposing
14   counsel.” Additionally, Local Rule LR IA 11-6(e) states as follows:
15               Except for good cause shown, no withdrawal or substitution will be
                 approved if it will result in delay of discovery, the trial, or any hearing in
16               the case. Where delay would result, the papers seeking leave of the court
17
                 for the withdrawal or substitution must request specific relief from the
                 scheduled discovery, trial, or hearing. If a trial setting has been made, an
18               additional copy of the moving papers must be provided to the clerk for
                 immediate delivery to the assigned district judge, bankruptcy judge, or
19               magistrate judge.
20
            In addition, a defendant has the right under the Sixth and Fourteenth Amendments to the
21
     United States Constitution to waive counsel and represent him. Faertta v. California, 422 U.S.
22
     806, 835, 95 S. Ct. 2525 (1975).
23
            Here, good cause clearly exists. Mr. Qazi has been granted leave by this court to proceed
24
     pro se; undersigned counsel is merely appointed on a stand-by basis to assist Mr. Qazi if and when
25
     needed. Mr. Qazi directs him to file a motion for counsel to withdraw.
26
            Mr. Qazi has indicated he would better served if he is allowed to pursue a relationship with
27
     alternate counsel, specifically Nevada counsel, William Gamage, Esq. (a CJA member) with
28
     whom he may be able to reach a more meaningful, cooperative relationship. Current counsel spoke
            Case 2:15-cr-00014-APG-VCF Document 330 Filed 06/27/17 Page 3 of 5



1    with Mr. Gamage and he has no objection to being appointed to this matter through CJA.
2    Furthermore, allowing undersigned counsel to withdraw and either appoint alternate counsel will
3    work no prejudice or delay on either Mr. Qazi, the Government, or this Court.
4            Furthermore, allowing undersigned counsel to withdraw will work no prejudice or delay
5    on either Mr. Qazi, the Government, or the Court. Mr. Qazi has already been granted leave to
6    proceed to trial pro se.
7

8                                            CONCLUSION
9            Based on the foregoing, to include counsel’s declaration and the attached exhibit, good
10   cause exists to grant the Motion for leave to withdraw and appoint alternate CJA counsel.
11           DATED this __27th___ day of June, 2017.
12                                               By: __/s/ Lance Hendron__________
                                                 Lance J. Hendron, Esq. (#011151)
13                                               Attorney for Defendant
14

15
      ///
16

17
      ///

18    ///

19    ///
20
      ///
21
      ///
22

23

24

25

26

27

28
           Case 2:15-cr-00014-APG-VCF Document 330 Filed 06/27/17 Page 4 of 5



1                                CERTIFICATE OF SERVICE
2
            IT IS HEREBY CERTIFIED by the undersigned that on _27th_ day of June,
3
     2017, I served a true and correct copy of the foregoing on the parties listed on the attached
4
     service list via one or more of the methods of service described below as indicated next to
5
     the name of the served individual or entity by a checked box:
6
                 VIA U.S. MAIL: by placing a true copy thereof enclosed in a sealed
7    envelope with postage thereon fully prepaid, in the United States mail at Las Vegas,
     Nevada.
8
                   VIA FACSIMILE: by transmitting to a facsimile machine maintained by
9    the attorney or the party who has filed a written consent for such manner of service.

10                 BY PERSONAL SERVICE: by personally hand-delivering or causing to
     be hand delivered by such designated individual whose particular duties include delivery
11   of such on behalf of the firm, addressed to the individual(s) listed, signed by such
     individual or his/her representative accepting on his/her behalf. A receipt of copy signed
12   and dated by such an individual confirming delivery of the document will be maintained
     with the document and is attached.
13
                  BY E-MAIL: by transmitting a copy of the document in the format to be
14   used for attachments to the electronic-mail address designated by the attorney or the
     party who has filed a written consent for such manner of service.
15

16
                                        By:    ___/s/ L. Hendron___________________
17                                             An employee of LANCE J. HENDRON,
                                               ATTORNEY AT LAW, LLC
18
      //
19

20    //

21    //
22
      //
23
      //
24
      //
25

26    //

27

28
          Case 2:15-cr-00014-APG-VCF Document 330 Filed 06/27/17 Page 5 of 5



1                                       SERVICE LIST
2

3
              ATTORNEYS                     PARTIES         METHOD
4              OF RECORD                  REPRESENTED      OF SERVICE
      DANIEL G. BOGDEN
5
     United States Attorney             State of Nevada       Personal service
6    Alexandra Michael                                        Email service
     Assistant United States Attorney                         Fax service
7     333 S Las Vegas Blvd., 5th Flr                          Mail service
      Las Vegas, NV 89191
8
      Alexandra.M.Michael@usdoj.gov
9

10
     Omar Qazi 49760-048
     Nevada Southern Detention Ctr                            Personal service
11   2190 East Mesquite Ave                                   Email service
                                                              Fax service
12
     Pahrump, NV 89060                                        Mail service
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
